                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

IN RE:                                         *
                                               *
ANDY HOWARD AND                                *
STEPHANIE HOWARD                               *       BK CASE NO. 17-83536-CRJ-13
                                               *       CHAPTER 13
         Debtor.                               *
                                               *

                                               *
ANDY HOWARD AND                                *
STEPHANIE HOWARD,                              *
                                               *
                                               *
         Plaintiff,                            *
                                               *       ADVERSARY PROCEEDING
v.                                             *       NO. 18-80087-CRJ
                                               *
STATE OF ALABAMA                               *
DEPARTMENT OF REVENUE                          *
                                               *
         Defendant.                            *


                                              ANSWER


         Comes now the State of Alabama Department of Revenue (the “Department”), by and

through its undersigned Assistant Attorney General, and answers the Complaint in the above-styled

adversary proceeding as follows:

                                         FIRST DEFENSE

         The Department specifically reserves the right to add additional defenses of which it

becomes aware during the progression of discovery.

                                        SECOND DEFENSE

         The Department denies each and every allegation of the Complaint that is not expressly

admitted and further denies the Plaintiffs are entitled to any relief.



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                                       THIRD DEFENSE

       The Department answers the respective numbered paragraphs of Plaintiffs’ Complaint as

follows:

                           Parties, Jurisdiction, and Nature of Action

1. The Department admits that the Plaintiffs filed a petition seeking relief under Chapter 13 of the

Bankruptcy Code on November 30, 2017. The Department admits that it is a governmental agency

existing under the state laws of Alabama. The Department lacks sufficient information and

knowledge to admit or deny all of the remaining allegations in this paragraph and, therefore, denies

the same.

2. The Department admits that the it was listed on the Howards’ Schedule E. The Department

admits that the amended plan includes payments for its secured claims and its priority unsecured

claim. The Department denies the remaining allegations.

3. The Department admits that on August 6, 2018, it entered a Notice of Final Assessment of

Individual Income Tax against the Plaintiffs regarding their 2014 tax liability and the Final

Assessment was mailed on or around the entry date. The Department denies that its entry and

mailing of the Notice of Final Assessment of Individual Income Tax to the Plaintiffs violates 11

U.S.C. § 362. The Department states that its actions are explicitly excepted from a violation of the

stay pursuant to 11 U.S.C. § 362(b)(9)(D), which states “the making of an assessment for any tax

and issuance of a notice and demand for payment” is an exception to the automatic stay. The

Department further denies any remaining allegations.

4. Denies.

5. The Department denies that the Notice of Final Assessment of Individual Income Tax violated


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the automatic stay. The Department admits that the Notice of Final Assessment of Individual

Income Tax lists the Plaintiffs’ 2014 state tax liability as $964.84. The Department admits that it

filed five claims in Case No. 17-83536-CRJ prior to the entry of the Notice of Final Assessment of

Individual Income Tax regarding the 2014 tax year.          The Department denies the remaining

allegations.

6. Denies.

7. The Department admits this is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)

and that this Court has jurisdiction over the matter.


                             Claim- Violation of the Automatic Stay


8. The factual averments of paragraphs 1 through 8 of this Complaint are incorporated as if restated

herein.


9. The Department admits that it had notice of the Plaintiffs’ bankruptcy case.

10. The Department admits that 11 U.S.C. § 362 gives rise to an automatic stay at the

commencement of a bankruptcy proceeding. The Department denies the remaining allegations.

11. The Department admits that it sent the Plaintiffs a document entitled Notice of Final

Assessment of Individual Income Tax after the commencement of their bankruptcy case. The

Department denies the remaining allegations.

12. Denies.

13. The Department denies and demands strict proof thereof.

14. Denies.

15. Denies.
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       The Department denies that the Plaintiff is entitled to judgment, as requested in the

“WHEREFORE” paragraph because there has been no violation of the automatic stay as the

Department’s Notice of Final Assessment of Individual Income Tax fits squarely within the

exception stated in 11 U.S.C. § 362(b)(9)(D).

                                                Respectfully submitted,

                                                /s/ Mary Martin Majors Mitchell
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 4, 2018, I served a copy of the foregoing pleading on the
individuals identified below by email transmission through the CM/ECF system or by placing the
same in the United States mail, postage prepaid and addressed as follows:

Michele T. Hatcher, Chapter 13 Trustee
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                                            /s/ Mary Martin Majors Mitchell
                                            MARY MARTIN MAJORS MITCHELL




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